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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  VICTORIA DIVISION

In re:                                             §
                                                   §   Subchapter V
Scott Vincent Van Dyke                             §
                                                   §   Case No. 21-60052
                        Debtor.                    §   Christopher M. Lopez



                           DEBTOR’S WITNESS & EXHIBIT LIST

WITNESSES:
1) Scott Vincent Van Dyke                    Judge: Christopher M. Lopez

2) Harry McMann                              Hearing Date: December 15, 2021
                                             Hearing Time: 1:00p.m.
                                             Party’s Name: Scott Vincent Van Dyke
                                             Attorneys for Scott Vincent Van Dyke:
                                             Susan Tran Adams and Brendon Singh
                                             Nature of Proceeding(s):
                                                     Debtor’s Amended Chapter 11 Plan
                                                     [Dkt. 86]


Ex.      Description                   Offered   Objection Admitted/Not    Disposition
#
1        Amended Chapter 11 Plan
         [Dkt. 86]
2        Redline Amended Chapter 11
         Plan
3        Debtor’s 5 year projections

5        Liquidation Analysis

6        Texas Petroleum LLC 5 year
         projections
7        Adams Prospect Presentation

8        CV of Scott Van Dyke
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9    CV of Harry McMann

10   Texas Petroleum LLC
     Employee CV’s


     Dated: December 13, 2021

                                   Respectfully submitted,

                                    TRAN SINGH, LLP

                                By: /s/Susan Tran Adams
                                    Susan Tran Adams | TBN: 24075648
                                    Brendon Singh | TBN: 24075646
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                                    Houston TX 77004
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                                    STran@ts-llp.com

                                   Counsel for Scott Vincent Van Dyke
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                               CERTIFICATE OF SERVICE

       I hereby certify that on December 13, 2021 a true and correct copy of the foregoing
document was served via the Court’s ECF System on all parties requesting notice in this
proceeding as well as the parties listed on the attached service list by regular mail.

                                            By: /s/ Susan Tran Adams
                                              Susan Tran Adams


                  VERIFICATION OF TRANSMITTAL TO U.S. TRUSTEE

    The undersigned, an attorney, under penalties of perjury, verifies that a copy of the Motion
was delivered to the United States Trustee on December 13, 2021, by electronic delivery by the
clerk of the Bankruptcy Court.


                                            By: /s/ Susan Tran Adams
                                              Susan Tran Adams
